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                          United States District Court
                           Southern District of Texas
                               Victoria Division


STATE OF TEXAS,
STATE OF ALABAMA
STATE OF ALASKA
STATE OF ARKANSAS
STATE OF FLORIDA
STATE OF IDAHO
STATE OF IOWA
STATE OF KANSAS
COMMONWEALTH OF KENTUCKY
STATE OF LOUISIANA
STATE OF MISSISSIPPI
STATE OF MISSOURI
STATE OF MONTANA
STATE OF NEBRASKA
STATE OF OHIO
STATE OF SOUTH CAROLINA
STATE OF TENNESSEE
STATE OF UTAH
STATE OF WEST VIRGINIA
STATE OF WYOMING                                Case No. _________________
   Plaintiffs,

v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
ALEJANDRO MAYORKAS, in his official
 capacity as Secretary of Homeland
 Security;
U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES;
UR JADDOU, in her official capacity as
 Director of U.S. Citizenship and
 Immigration Services;
U.S. CUSTOMS & BORDER PROTECTION;
TROY MILLER, in his official capacity as
 Acting Commissioner of U.S. Customs &
 Border Protection;
U.S. IMMIGRATION & CUSTOMS
 ENFORCEMENT; and
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TAE JOHNSON, in his official capacity as
 Acting Director of U.S. Immigration &
 Customs Enforcement;
  Defendants.

                                     COMPLAINT
            1.    The Department of Homeland Security (DHS or Department),

     under the false pretense of preventing aliens from unlawfully crossing the

     border between the ports of entry, has effectively created a new visa program—

     without the formalities of legislation from Congress—by announcing that it

     will permit up to 360,000 aliens annually from Cuba, Haiti, Nicaragua, and

     Venezuela to be “paroled” into the United States for two years or longer and

     with eligibility for employment authorization.

            2.    The Department’s parole power is exceptionally limited, having

     been curtailed by Congress multiple times, and can be used “only on a case-by-

     case basis for urgent humanitarian reasons or significant public benefit.” 8

     U.S.C. § 1182(d)(5)(A). But the Department’s new “parole” program allows

     aliens in their home countries to obtain the benefit of being able to obtain

     advance authorization to enter the United States—despite no other basis in

     law for them doing so.

            3.    The parole program established by the Department fails each of

     the law’s three limiting factors. It is not case-by-case, is not for urgent

     humanitarian reasons, and advances no significant public benefit. Instead, it

     amounts to the creation of a new visa program that allows hundreds of

     thousands of aliens to enter the United States who otherwise have no basis for

     doing so. This flouts, rather than follows, the clear limits imposed by Congress.

            4.    In establishing this unlawful program, the Department did not

     engage in notice-and-comment rulemaking under the Administrative

     Procedure Act, substituting instead its unilateral judgment to bring into the



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United States hundreds of thousands of aliens who otherwise have no other

authority to enter.

         5.    The Plaintiff States—Texas, Alabama, Alaska, Arkansas,

Florida, Idaho, Iowa, Kansas, Kentucky, Louisiana, Mississippi, Missouri,

Montana, Nebraska, Ohio, South Carolina, Tennessee, Utah, West Virginia,

and Wyoming—face substantial, irreparable harms from the Department’s

abuses of its parole authority, which allow potentially hundreds of thousands

of additional aliens to enter each of their already overwhelmed territories.

         6.    The Department does not have the authority to invite more than

a third of a million more illegal aliens into the United States annually as it has

announced with this program.

         7.    This Court should enjoin, declare unlawful, and set aside the

Department’s lawless parole program.

                                     Parties

I.       Plaintiffs.
         8.    Plaintiff State of Texas is a sovereign State of the United States

of America.

         9.    Plaintiff State of Alabama is a sovereign State of the United

States of America.

         10.   Plaintiff State of Alaska is a sovereign State of the United States

of America.

         11.   Plaintiff State of Arkansas is a sovereign State of the United

States of America.

         12.   Plaintiff State of Florida is a sovereign State of the United States

of America.




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      13.     Plaintiff State of Idaho is a sovereign State of the United States

of America.

      14.     Plaintiff State of Iowa is a sovereign State of the United States of

America.

      15.     Plaintiff State of Kansas is a sovereign State of the United States

of America.

      16.     Plaintiff Commonwealth of Kentucky is a sovereign State of the

United States of America.

      17.     Plaintiff State of Louisiana is a sovereign State of the United

States of America.

      18.     Plaintiff State of Mississippi is a sovereign State of the United

States of America.

      19.     Plaintiff State of Missouri is a sovereign State of the United

States of America.

      20.     Plaintiff State of Montana is a sovereign State of the United

States of America.

      21.     Plaintiff State of Nebraska is a sovereign State of the United
States of America.

      22.     Plaintiff State of Ohio is a sovereign State of the United States of

America.

      23.     Plaintiff State of South Carolina is a sovereign State of the United

States of America.

      24.     Plaintiff State of Tennessee is a sovereign State of the United

States of America.

      25.     Plaintiff State of Utah is a sovereign State of the United States of

America.




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      26.    Plaintiff State of West Virginia is a sovereign State of the United

States of America.

      27.    Plaintiff State of Wyoming is a sovereign State of the United

States of America.

II.   Defendants.
      28.    Defendant U.S. Department of Homeland Security is a cabinet-

level federal executive agency that oversees the Defendants, U.S. Citizenship

and Immigration Services (USCIS), U.S. Customs and Border Protection

(CBP), and U.S. Immigration and Customs Enforcement (ICE), which are

constituent agencies of DHS. DHS and its constituent agencies are obligated

to enforce the Immigration and Nationality Act (INA).

      29.    Defendant Alejandro Mayorkas is the Secretary of DHS. The

Plaintiff States sue him in his official capacity.

      30.    Defendant Ur Jaddou is the Director of USCIS. The Plaintiff

States sue her in her official capacity.

      31.    Defendant Troy Miller is the Acting Commissioner of CBP. The

Plaintiff States sue him in his official capacity.

      32.    Defendant Tae Johnson is the Acting Director of ICE. The

Plaintiff States sue him in his official capacity.

                           Jurisdiction and Venue
      33.    The Court has jurisdiction over this dispute because it arises

under the Constitution and laws of the United States. See 28 U.S.C. §§ 1331,

1346, 1361; 5 U.S.C. §§ 702–703. It has jurisdiction under 5 U.S.C. §§ 705–706

and 28 U.S.C. §§ 1361 and §§ 2201–2202 to render the declaratory and

injunctive relief that the Plaintiff States request.




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         34.   This district is a proper venue because the State of Texas resides

in this district. 28 U.S.C. § 1391(e).

                                         Facts

I.       The Parole Authority.
         35.   The Immigration and Nationality Act details the specific

instances where the government may use its authority to parole individuals

into the United States who otherwise would not be lawfully permitted to enter,

or who are otherwise subject to mandatory detention. See 8 U.S.C. § 1182(d)(5).

         36.   Specifically, Congress has directed that parole may only be

granted on a case-by-case basis, and even then, only for “urgent humanitarian

reasons or significant public benefit.” Id. at § 1182(d)(5)(A); Texas v. Biden, 20

F.4th 928, 947 (5th Cir. 2021).

         37.   Congress added those restrictions—the case-by-case basis for

urgent humanitarian reasons or significant public benefit—to the parole power

in 1996, in part because:

         The text of section 212(d)(5) is clear that the parole authority was
         intended to be used on a case-by-case basis to meet specific needs,
         and not as a supplement to Congressionally-established
         immigration policy. In recent years, however, parole has been used
         increasingly to admit entire categories of aliens who do not qualify
         for admission under any other category in immigration law, with
         the intent that they will remain permanently in the United States.
         This contravenes the intent of section 212(d)(5), but also
         illustrates why further, specific limitations on the Attorney
         General’s discretion are necessary.
H.R. Rep. No. 104-469, at 140 (1996) (emphasis added).

         38.   Congress has also emphasized that DHS “may not parole into the

United States an alien who is a refugee unless the Attorney General

determines that compelling reasons in the public interest with respect to that

particular alien require that the alien be paroled into the United States rather


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than be admitted as a refugee[.]” 8 U.S.C. § 1182(d)(5)(B); see also Texas v.

Biden, 20 F.4th at 994.

      39.      As the U.S. Court of Appeals for the Fifth Circuit stated less than

two years ago, “[q]uintessential modern uses of the parole power include, for

example, paroling aliens who do not qualify for an admission category but have

an urgent need for medical care in the United States and paroling aliens who

qualify for a visa but are waiting for it to become available.” Id. at 947. But the

power is not unlimited: “DHS cannot use that power to parole aliens en masse;
that was the whole point of the ‘case-by-case’ requirement that Congress added

in IIRIRA.” Id. at 997.

      40.      The Supreme Court recently affirmed the limited nature of the

parole power, noting that it “is not unbounded: DHS may exercise its discretion

to parole applicants ‘only on a case-by-case basis for urgent humanitarian

reasons or significant public benefit.’ … And under the [Administrative

Procedure Act], DHS’s exercise of discretion within that statutory framework

must be reasonable and reasonably explained.” Biden v. Texas, 142 S. Ct. 2528,

2543 (2022).

II.   The Parole Program.
      41.      On December 22, 2022, Secretary Mayorkas issued a decision

memorandum that created a new parole program for nationals of Cuba, Haiti,

Nicaragua, and Venezuela. Although the Defendants have referred to this

memorandum        as authority    for the    new   parole   program,    see,   e.g.,

Implementation of a Parole Process for Haitians, 88 Fed. Reg. 1243 (Jan. 9,

2023), they have not publicly released it.

      42.      On January 5, 2023, President Biden and the Defendants

announced the creation of the new parole program, which was modeled off



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recent programs the Defendants had created for nationals of Ukraine and

Venezuela. Press Release, Department of Homeland Security, DHS Continues

to Prepare for End of Title 42; Announces New Border Enforcement Measures

and    Additional    Safe   and    Orderly    Processes,    (Jan.   5,   2023)

https://bit.ly/3VR83z2.

      43.    According to the Department’s announcement, the program “will

provide a lawful and streamlined way for qualifying nationals of Cuba, Haiti,

Nicaragua, and Venezuela to apply to come to the United States, without

having to make the dangerous journey to the border.” Id.

      44.    Secretary Mayorkas said in the press release announcing the

program “[w]e can provide humanitarian relief consistent with our values, cut

out vicious smuggling organizations, and enforce our laws.” Id. He added

“[i]ndividuals who are provided a safe, orderly, and lawful path to the United

States are less likely to risk their lives traversing thousands of miles in the

hands of ruthless smugglers, only to arrive at our southern border and face the

legal consequences of unlawful entry.” Id.

      45.    Without authority, the Defendants have decreed that, subject to
an alien obtaining a “supporter in the United States who commits to providing

financial and other support” and certain background checks,“[aliens] can seek

advance authorization to travel to the United States, and be considered, on a

case-by-case basis, for a temporary grant of parole for up to two years,

including employment authorization[.]” Id. (emphasis added).

      46.    The Defendants have further decreed that the program “will

allow up to 30,000 qualifying nationals per month from all four of these

countries to reside legally in the United States for up to two years and to

receive permission to work here, during that period.” Id. (emphasis added).




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       47.   On January 6, Defendant USCIS published a new website for this

new program, entitled “Processes for Cubans, Haitians, Nicaraguans, and

Venezuelans.” U.S. CITIZENSHIP AND IMMIGRATION SERVICES, Processes for

Cubans, Haitians, Nicaraguans, and Venezuelans, https://bit.ly/3ZOb9Hg (last

accessed Jan. 23, 2023).

       48.   The website lists the basic requirements for the program as they

were contained in its announcement the day prior, but added additional

details, including:

   •   The “supporter” agrees to provide the alien with financial support for

       the duration of their parole in the United States and begins the process

       by filing a Form I-134A “Online Request to be a Supporter and

       Declaration of Financial Support.” Id.

   •   There is no cost to apply for the program for the alien or the “supporter.”

   •   “Supporters” can include: U.S. citizens or nationals; lawful permanent

       residents, lawful temporary residents, and conditional permanent

       residents; nonimmigrants in lawful status (who maintain their

       nonimmigrant status and have not violated any of the terms or

       conditions of their nonimmigrant status); asylees, refugees, and

       parolees; individuals granted Temporary Protected Status; and,

       beneficiaries of deferred action (including deferred action for childhood

       arrivals) or deferred enforced departure. Id. (emphasis added).

   •   The beneficiaries can be any national of Cuba, Haiti, Nicaragua, or

       Venezuela, plus their immediate family members. But beneficiaries

       cannot be minor children traveling without adults. Id.

   •   Upon approval of the Form, the alien is authorized for travel to the

       United States at the alien’s own expense, and upon arrival the alien will

       be considered for parole into the United States. Id.


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      49.    The Defendants did not publish advance notice of the program in

the Federal Register prior to posting details about the program on the

Department’s website.

      50.    The Defendants have not published the decision memorandum

from Secretary Mayorkas despite referring to such a memorandum in the four

separate Federal Register notices announcing the parole program that are

described below.

      51.    The Defendants have not published any analysis or supporting

materials for the Secretary’s decision memorandum.

      52.    But on January 9, 2023, the Department published four separate

notices in the Federal Register regarding the implementation of the parole

program, with one notice for each eligible nationality. See Implementation of a

Parole Process for Cubans, 88 Fed. Reg. 1266 (Jan. 9, 2023); Implementation

of a Parole Process for Haitians, 88 Fed. Reg. 1243 (Jan. 9, 2023);

Implementation of a Parole Process for Nicaraguans, 88 Fed. Reg. 1255 (Jan.

9, 2023); Implementation of Changes to the Parole Process for Venezuelans, 88

Fed. Reg. 1279 (Jan. 9, 2023).
      53.    In substance, the Federal Register notices do not differ from the

website content—explaining the general parameters of the program and the

qualifications for it. But they do offer more analysis from the Department as

to why, in the Department’s view, the program comports with the limitations

on the Secretary’s parole power under 8 U.S.C. § 1182(d)(5). See, e.g., 88 Fed.

Reg. at 1260–63.

      54.    The Defendants did not provide an opportunity for public

comment, nor did they undertake a formal notice-and-comment rulemaking

process. Instead, they asserted that their new program was exempt from

notice-and-comment rulemaking because (1) “the Department is merely


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adopting a general statement of policy,” (2) the program is exempt “because it

involves a foreign affairs function of the United States,” and (3) “there is good

cause to find that the delay associated with implementing this process through

notice-and-comment rulemaking and with a delayed effective date would be

contrary to the public interest and impracticable.” See, e.g., 88 Fed. Reg. at

1264-65.

       55.   The Defendants did not explain or analyze how they would

remove from the United States aliens paroled through the program after the

end of any period of authorized parole, despite admitting general difficulty

removing such aliens to their home countries presently.

       56.   The Defendants did not consult the Plaintiff States about the

potential effects of this program or the ability of the Plaintiff States to provide

services to aliens paroled in through the program.

       57.   The Defendants, if in fact they have devised a mechanism, did not

explain any such mechanism for the recovery of funds from “supporters” who

do not actually provide for the needs of aliens paroled under the program,

whether by the Department itself, any federal entity, or most pertinent to the
Plaintiff States, by any state.

III.   Irreparable Harm to the Plaintiff States.
       58.   The parole program harms Texas. Texas spends significant

amounts of money providing services to illegal aliens because of the federal

government’s violations of and refusal to enforce federal law. These include

education and healthcare, as well as many other social services. Federal law

requires Texas to include illegal aliens in some of these programs. As the

number of illegal aliens in Texas increases, the number of illegal aliens

receiving such services likewise increases.



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       59.    For example, the Emergency Medicaid program provides health

coverage for low-income children, families, seniors, and the disabled. Federal

law requires Texas to include illegal aliens in its Emergency Medicaid

program. The program costs Texas tens of millions of dollars annually.

       60.    The Texas Family Violence Program provides emergency shelter

and supportive services to victims and their children in Texas. Texas spends

more than a million dollars per year on the Texas Family Violence Program for

services to illegal aliens.

       61.    The Texas Children’s Health Insurance Program offers low-cost

health coverage for children from birth through age 18. Texas spends tens of

millions of dollars each year on CHIP expenditures for illegal aliens.

       62.    Texas spends hundreds of millions of dollars each year for

uncompensated care provided by state public hospital districts to illegal aliens.

       63.    Also, Texas spends tens of millions of dollars each year for

increased    law   enforcement    as   its    citizens   suffer   increased   crime,

unemployment, environmental harm, and social disorder due to illegal

immigration.
       64.    Texas spends millions of dollars each year on public education

costs to educate illegal aliens, which puts a strain on its system for citizens and

which costs are uncompensated from the federal government.

       65.    If the Defendants allow these new aliens into the United States

in violation of federal law, then the harm will only grow over time.

       66.    This increase strains Texas’s resources and ability to provide

essential services, such as emergency medical care, education, driver’s

licenses, and other public safety services.

       67.    Texas cannot recover from the federal government its increased

costs, which it would otherwise not incur if the federal government enforced


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the law. This affects Texas’s sovereign interests in its territory and its ability

to properly carry out such interests on behalf of the citizens of the State.

        68.   Alabama also “bears many of the consequences of unlawful

immigration.” Arizona v. U.S., 567 U.S. 387, 397 (2012). The State incurs

significant costs providing services to illegal aliens that it would otherwise not

incur if the federal government enforced the federal immigration law. Alabama

currently has tens of thousands of illegal aliens living in the State. Recent

reports estimate that approximately 55,000 to 73,000 illegal aliens are living

in the State; about 68% of them are uninsured; about 34% of them have

incomes below the poverty line; and these illegal aliens cost Alabama taxpayers

more than $324.9 million a year. See, e.g., MIGRATION POLICY INSTITUTE,
Unauthorized Immigrant Population Profiles, https://bit.ly/3kws01c (62,000

illegal aliens, 68% uninsured, 34% below poverty level) (last visited Jan. 23,

2023); PEW RESEARCH CENTER, U.S. Unauthorized Immigrant Population

Estimates by State (2016), https://pewrsr.ch/2NoU5VA (55,000 illegal aliens);

FEDERATION FOR AMERICAN IMMIGRATION REFORM, The Fiscal Burden of Illegal

Immigration, (2017), https://bit.ly/3ZYDMBU (73,190 illegal aliens, $324.9

million annual cost).

        69.   While Alabama is not a contemplated “port[] of entry” according

to DHS’s press release, see Press Release, Department of Homeland Security,

DHS Continues to Prepare for End of Title 42; Announces New Border

Enforcement Measures and Additional Safe and Orderly Processes (Jan. 5,

2023)    (https://bit.ly/3QYnMvo),   the      federal   government    itself   has

acknowledged that “the flow of migration directly impacts not only border

communities and regions, but also destination communities and healthcare

resources of both,” 86 Fed. Reg. at 42,835.




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      70.    Unlawfully adding more aliens through an abuse of the parole

power will inevitably increase the costs of Alabama’s healthcare system. See,

e.g., Plyler v. Doe, 457 U.S. 202, 223–30 (1982) (holding States constitutionally

obligated to provide free education to children of unlawfully present aliens); 42

U.S.C. § 1395dd; 42 C.F.R. § 440.255 (Medicare and Medicaid provision

requiring States to provide emergency services to unlawful aliens as condition

of program participation).

      71.    Alaska will also be harmed by the parole program. Alaska has

approximately 5,000 to 11,000 illegal aliens living in the State. They cost the

State more than $72 million a year. If more illegal aliens enter Alaska, that

will force Alaska to expend limited resources on education, healthcare, public

assistance, and general government services. The program is also likely to

cause increased crime and/or drug trafficking in Alaska’s communities,

requiring additional expenditures by law enforcement.

      72.    Arkansas spends significant amounts of money providing services

to illegal aliens because of the federal government’s abuses of federal law.

Those services include education services and healthcare, as well as many
other social services. Federal law requires Arkansas to include illegal aliens in

some of these programs. As the number of illegal aliens in Arkansas increases,

the number of illegal aliens receiving such services likewise increases.

      73.    The Emergency Medicaid program provides health coverage for

low-income children, families, seniors, and the disabled. Federal law requires

Arkansas to include illegal aliens in its Emergency Medicaid program. The

program costs Arkansas tens of millions of dollars annually.

      74.    Arkansas spends millions of dollars each year to provide public

education to illegal aliens. There are approximately 5,000 children unlawfully

present in Arkansas. MIGRATION POLICY INSTITUTE, Profile of the Unauthorized


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Population: Arkansas, https://bit.ly/3D8AK49 (last accessed Jan. 19, 2023).

Arkansas spends $7,349 on each child who attends its public schools, for a total

of $36,745,000 spent to educate children who are illegally present in Arkansas.

Ark. House of Reps., 2022 Education Adequacy Study (Jan 12, 2022),

https://bit.ly/3D6O7lh (last accessed Jan. 23, 2023). Increasing the number of

children unlawfully present will only increase that financial burden.

       75.    Florida will also be irreparably harmed by the parole program.

Florida expends significant state resources on providing state services to illegal

aliens within the State. The presence of these illegal aliens in Florida—who

have been excluded by federal law—violates the State’s quasi-sovereign

interest in its territory and the welfare of its citizens. It also costs the State of

Florida millions of dollars.

       76.    Florida’s state prison system spends more than $100 million per

year incarcerating criminal aliens who commit crimes in Florida. Only a small

fraction of this expenditure is reimbursed by the federal government under 8

U.S.C. § 1231(i).

       77.    Florida spends more than $8,000 per student each year on public-
school education, which it provides regardless of immigration status.

       78.    Florida’s Department of Children and Families provides a variety

of public services to illegal aliens at the State’s expense, including providing

shelter to victims of domestic violence, providing care to neglected children,

and providing substance abuse and mental health treatment.

       79.    Florida frequently pays the cost of emergency medical services for

the uninsured, which includes expenses related to the provision of medical

services to illegal aliens.




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      80.    Florida’s   Department     of   Economic    Opportunity    provides

unemployment benefits to aliens who are eligible for work authorization,

including parolees.

      81.    Idaho experiences similar harms. Idaho spends significant

amounts of money providing services to illegal aliens because of the federal

government’s abuses of federal law. Those services include education services

and healthcare, as well as many other social services. Federal law requires

Idaho to include illegal aliens in those programs. Like many Western states,

the number of illegal aliens in Idaho continues to increase—likewise increasing

the number of illegal aliens receiving such services.

      82.    The number of illegal aliens present in Idaho is estimated to be

approximately 35,000. School age children comprise nearly 6% of that number.

      83.    Idaho spends tens of millions of dollars each year to increase law-

enforcement capacity, and its citizens suffer increased crime, unemployment,

environmental harm, and social disorder due to illegal immigration. See, e.g.,

MIGRATION POLICY INSTITUTE, Unauthorized Immigrant Population Profiles,
https://bit.ly/3kAAzIi (25,000 illegal aliens, 60% uninsured, 27% below poverty

level); PEW RESEARCH CENTER, U.S. Unauthorized Immigrant Population

Estimates by State (2016), https://pewrsr.ch/3WqL5z6 (35,000 illegal aliens);

The Fiscal Burden of Illegal Immigration, FEDERATION FOR AMERICAN

IMMIGRATION REFORM, The Fiscal Burden of Illegal Immigration (2017),

https://bit.ly/3ZYDMBU (50,670 illegal aliens, $225.4 million annual cost).

      84.    Iowa spends tens of millions of dollars providing services to illegal

aliens due to the federal government’s abuses of federal law. Those services

include education services and emergency healthcare, as well as many other

social services. Federal law requires Iowa to include illegal aliens in those

programs. As the number of illegal aliens in Iowa increases, the number of


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illegal aliens receiving such services likewise increases, and so too the burden

on the public increases.

        85.   In 2007, the Fiscal Services Division of the Iowa Legislative

Services Agency found that Iowa was home to an estimated 55,000 to 85,000

illegal immigrants. At that time, 16 years ago, the total cost of illegal

immigrants to the State General Fund was more than $100 million and

accounted for about 2.4% of Iowa’s general fund expenditures. IOWA

LEGISLATIVE SERVICES AGENCY FISCAL SERVICES, Undocumented Immigrants’

Cost to the State (Feb. 22, 2007), https://bit.ly/3HkKMS5. Even simply

adjusting for inflation (without accounting for any increase in services or the

number of illegal immigrants) would bring that total to nearly $150 million

annually.

        86.   Iowa also spends tens of millions of dollars each year for increased

law enforcement, while its citizens suffer increased crime, unemployment,

environmental harm, and social disorder, due to illegal immigration.

        87.   The total costs to Iowa of providing public education for illegal

alien children will rise in the future as the number of illegal alien children

present in the State increases.

        88.   Iowa has been identified as a hot spot for trafficking activity due

to the junction of Interstate 35 and Interstate 80. Traffickers bring illegal

immigrants to and through the State. Proactively, in 2020, Iowa became one of

the first states in the country to pass legislation to require motel and hotel staff

to receive training in human-trafficking prevention. Iowa bears the additional

costs of combating trafficking associated with illegal immigration.

        89.   If the Defendants are permitted to allow these new aliens into the

United States in violation of federal law, then the harm will only grow over

time.


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      90.    This strains Iowa’s resources and ability to provide essential

services, such as emergency medical care, public education, and other public

safety services.

      91.    Iowa cannot recover from the federal government its increased

costs, which it would otherwise not incur if the federal government enforced

the law. That affects Iowa’s sovereign interests in its territory and its ability

to carry out properly such interests on behalf of the citizens of the State.

      92.    Kansas is also harmed by the Defendants’ new parole program.
      93.    Kansas will be required to stretch its scarce resources even

further under the parole program because, under the program, the Defendants

will monthly admit into the interior many thousands of new aliens who will at

least temporarily reside there. This will be in addition to the many aliens who

illegally cross the border every day (whom the Defendants fail to apprehend).

See Bradford Betz, Mayorkas Testifies More Than 389,000 Migrant ‘Gotaways’

at Border, FOX NEWS (Apr. 28, 2022), https://fxn.ws/3H0U04z; U.S. CUSTOMS

AND BORDER PROTECTION, On a Typical Day in Fiscal Year 2021, CBP…,

https://bit.ly/3kDcD7d (last accessed Jan. 18, 2023) (“[CBP] [c]onducted …

1,703 apprehensions between U.S. ports of entry[,] 25 arrests of wanted

criminals at U.S. ports of entry[,] [and] 723 refusals of inadmissible persons at

U.S. ports of entry”).

      94.    The program will result in increased crime and drug trafficking

in Kansas communities, requiring additional expenditures by Kansas law

enforcement. This is because at least some proportion of those aliens will come

to Kansas. That means more people in Kansas, at least some proportion of

whom will engage in illegal activity and whom law-enforcement officials will

inevitably encounter. See, e.g., United States v. Salinas-Calderon, 728 F.2d

1298, 1299–1300 (10th Cir. 1984) (recounting details of a traffic stop conducted


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by a Kansas Highway Patrol Trooper who encountered six individuals in the

bed of a pickup truck who admitted they were unlawfully present in the U.S.);

see also Tim Hrenchir, City settles police SUV crash lawsuit for $335K, TOPEKA

CAPITAL-JOURNAL, Mar. 12, 2021, at A4 (“Topeka’s city government has agreed

to pay $335,000 to settle a lawsuit over an April 2016 crash in which a vehicle

driven by an [illegal alien] was hit by a Topeka police SUV, which allegedly

went through a red light while responding to a call with its lights and siren

on.”); Glenn E. Rice, Man Who Heard Voices Charged With Murdering Tattoo
Artist, KAN. CITY STAR (May 22, 2018), https://bit.ly/3wpXqca, (discussing an

illegal alien who allegedly shot and killed another motorist while driving in

Kansas City, shot and wounded two men minutes apart in Clay County, and

burglarized a residence, stole firearms, and tampered with a motor vehicle in

Jackson County); THE ASSOCIATED PRESS, Murder & Abduction Suspect Living

in U.S. Illegally, CBS NEWS DFW (Nov. 24, 2016), https://cbsn.ws/3Wy24Qf (“A

Texas woman accused of [travelling to Wichita, Kansas and] killing a [Wichita]

mother and taking her baby was in the U.S. illegally when she was released

from [Sedgwick County (KS) Jail] this summer before immigration officials had

a chance to request she be held, law enforcement authorities said.”).

      95.    Additionally, by incentivizing aliens from Cuba, Haiti, Nicaragua,

and Venezuela to obtain advance authorization to enter the United States, the

parole program will force Kansas to expend its limited resources on education,

healthcare, public assistance, and general government services on even more

individuals who are not U.S. citizens. See Plyler v. Doe, 457 U.S. 202, 223–30

(1982) (establishing that undocumented school-age children are entitled to a

free public education); KAN. STATE DEP’T OF EDUC., EXPENDITURES PER PUPIL:

2020–2021 at 8 (Jan. 2021) (noting 2020–2021 school year expenditures per

pupil were approximately $15,869), available at https://bit.ly/3ZPAelj;


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KANCARE OMBUDSMAN, KANCARE GENERAL INFORMATION FACT SHEET

(Updated Nov. 19, 2020), available at https://bit.ly/3Da3MAd (“KanCare

Eligible Non-Citizens[:] To be considered eligible for any of the KanCare

medical assistance programs, non-U.S. citizens must hold (1) legal residency

in the U.S. for 5 years or more or (2) hold a certain immigration status.”); KAN.

DEP’T OF HEALTH & ENV’T, DIV. OF HEALTH CARE FIN., MKEESM MANUAL

§§ 2142, 2146 (Jan. 2023), available at https://bit.ly/3wjMLzX (pertaining to

“Qualified Non-Citizen Status” and “Documentation of Legal Status”); KAN.
DEP’T OF HEALTH & ENV’T, DIV. OF HEALTH CARE FIN., A-1 NON-CITIZEN

QUALIFICATION CHART 1 (Jan. 2023), available at https://bit.ly/3WuYXZk (“The

purpose of this chart is to provide policy guidance for eligibility staff when

addressing requests for coverage when the individual attests to being a non-

citizen and provides supporting documentation.”); see also KAN. DEP’T OF

HEALTH AND ENV’T, MEDICAID TRANSFORMATION 214 (Jan. 2009), available at

https://bit.ly/3ZTllhH (explaining Kansas’s administration of “SOBRA,” noting

“[illegal aliens] have been found to use hospital and emergency services at over

twice the rate of the overall U.S. population,” and observing that there is a

“large number of” “uninsured” illegal aliens).

      96.    Kansas has approximately 69,000 to 85,000 illegal aliens already

living in the State, about 64% of whom are uninsured and about 25% of whom

have incomes below the poverty line. See MIGRATION POLICY INSTITUTE, Profile

of the Unauthorized Population: Kansas, https://bit.ly/3GVy4I6 (69,000 illegal

aliens, 81% from “Mexico and Central America,” 64% uninsured, 11% below

50% of the poverty level); PEW RESEARCH CTR., U.S. Unauthorized Immigrant

Population Estimates by State, 2016 (Feb. 5, 2019), https://pewrsr.ch/2NoU5VA

(75,000 illegal aliens). These illegal aliens cost Kansas taxpayers more than

$377 million per year. See FED’N FOR AM. IMMIGRATION REFORM, The Fiscal


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Burden of Illegal Immigration On United States Taxpayers (2017),

https://bit.ly/2zj1XSX. If more illegal aliens enter Kansas, that will increase

the costs of the State’s healthcare system (among other things).

       97.    Kentucky is also injured by the Defendants’ illegal program.

Kentucky will be required to stretch its scarce resources even further under

the parole program because it will cause an influx of illegal aliens to be

released into the United States, including Kentucky, which increases the

burden on the Commonwealth’s ability to provide critical governmental

services to its citizens.

       98.    Specifically, the parole program incentivizes further illegal

immigration by allowing illegal aliens who have already illegally entered the

United States to act as “supporters” and encourage aliens who have not yet left

their countries to do so. As a result, the Defendants’ unlawful actions will lead

to an increased number of illegal aliens in Kentucky, thereby forcing Kentucky

to expend limited resources on education, healthcare, public assistance, and

general government services.

       99.    Kentucky has approximately 35,000 to 56,000 illegal aliens living

in the Commonwealth; about 60% of them are uninsured; about 37% of them

have incomes below the poverty level; and they cost Kentucky taxpayers more

than $261 million per year. If more illegal aliens enter the Commonwealth,

that will increase the costs of the Commonwealth’s healthcare system.

       100.   According to one estimate, there are approximately 4,000 illegal

aliens residing in Kentucky that are under the age of 16. Under Kentucky law,

all children residing in the Commonwealth, regardless of lawful status, shall

attend public school until age 16, with exceptions for students who attend

private, parochial, or home school options. Ky. Rev. Stat. § 159.010. The

Defendants’ unlawful parole program will result in an increased number of


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illegal-alien children attending public schools in the Commonwealth, which

will increase educational costs, including, but not limited to, requiring

additional faculty for ESL instruction, increased administrative costs, and

reductions in space at public school facilities.

      101.   Louisiana will also be injured gravely by the parole program.

Louisiana will be required to stretch its resources even further under the

parole program, because the parole program involves the unlawful release of

hundreds of thousands of illegal aliens into the United States. The parole

program will force Louisiana to expend limited resources on education,

healthcare, public assistance, and general government services.

      102.   Indeed, Louisiana already has approximately 70,000 to 78,000

aliens living in the State who are not lawfully in the United States. More than

70% of them do not have health insurance, about 34% of them have incomes

below the poverty level, and they cost Louisiana taxpayers more than $362

million a year. See, e.g., MIGRATION POLICY INSTITUTE, Unauthorized
Immigrant Population Profiles, https://bit.ly/3XRLr2H (70,000 illegal aliens,

73% uninsured, 34% poverty level); PEW RESEARCH CENTER U.S. Unauthorized

Immigrant Population Estimates by State (2016), https://pewrsr.ch/2NoU5VA

(70,000 illegal aliens); FEDERATION FOR AMERICAN IMMIGRATION REFORM, The

Fiscal Burden of Illegal Immigration (2017), https://bit.ly/3GZQuYm (78,820

illegal aliens, $362 million annual cost). More aliens entering the State will

increase the costs of the State’s healthcare system.

      103.   Louisiana spends more than $10,000 per student on public

schooling. Melanie Hanson, U.S. Public Education Spending Statistics,

EDUCATION DATA INITIATIVE (Jun. 15, 2022), https://bit.ly/3H0j5gb. Additional

aliens enrolled in public schools increase Louisiana’s education expenditures.

See Plyler, 457 U.S. at 223–30.


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      104.   Defendant DHS has previously recognized that Louisiana “is

directly and concretely affected by changes to DHS rules and policies that have

the effect of easing, relaxing, or limiting immigration enforcement. Such

changes can negatively impact [Louisiana’s] law enforcement needs and

budgets, as well as its other important health, safety, and pecuniary interests

of the State of Louisiana.” Memorandum of Understanding Between DHS and

the Louisiana Department of Justice at 1-2. DHS has also recognized that

“rules, policies, procedures, and decisions that could result in significant

increases to the number of people residing in a community” will “result in

direct and concrete injuries to [Louisiana], including increasing the rate of

crime, consumption of public benefits and services, strain upon the healthcare

system, and harm to the environment, as well as increased economic

competition with the State of Louisiana's current residents for, among other

things, employment, housing, goods and services.” Id. at 3.

      105.   Louisiana cannot recover its increased costs, which it would

otherwise not incur if the federal government enforced the law, from the

federal government. This affects Louisiana’s sovereign interests in its territory
and its ability to carry out properly such interests on behalf of the citizens of

the State.

      106.   Mississippi is also injured by the parole program. Mississippi will

be required to stretch its scarce resources even further under the program

because it will cause an influx of illegal aliens who otherwise have no basis for

entering the country. The program will further incentivize and exacerbate

illegal immigration, and thus will force Mississippi to expend limited resources

on education, healthcare, public assistance, law enforcement, and general

government services.




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      107.   Mississippi has approximately 20,000 to 28,000 illegal aliens

living in the State; about 75% of them are uninsured; about 49% of them have

incomes below the poverty level; and they cost Mississippi taxpayers more than

$117 million per year. If more illegal aliens enter the State, that will increase

the costs to the State’s healthcare system.

      108.   Missouri is directly and adversely affected by increases in illegal

immigration at the southern border. Recent studies have established that

significant numbers of illegal aliens who enter the United States end up

residing in Missouri. See Texas v. Biden, 554 F. Supp. 3d 818, 838 (N.D. Tex.

2021), aff’d, 20 F.4th 928 (5th Cir. 2021), rev’d on other grounds, 142 S. Ct.

2528 (2022). Like Texas, Missouri experiences pocketbook injuries as a result

of the unlawful presence of illegal aliens in the State in the form of education,

healthcare, and law-enforcement costs. These financial injuries are irreparable

because Missouri has no plausible recourse to recoup them.

      109.   Illegal aliens and their children receive education benefits from

Missouri at Missouri’s expense. See Plyler v. Doe, 457 U.S. 202, 205, 230 (1982)

(holding   that   the   Constitution   prohibits   States   from   “deny[ing]   to
undocumented school-age children the free public education that it provides to

children who are citizens of the United States or legally admitted aliens”).

      110.   As the District Court for the Northern District of Texas has found,

the costs to “Missouri … of providing public education for illegal alien children

will rise … as the number of illegal alien children present in the State

increases.” Texas, 554 F. Supp. 3d at 838.

      111.   “Some aliens who … are being released or paroled into the United

States … will use state-funded healthcare services or benefits in … Missouri.”

Id. “The total costs to [Missouri] will increase as the number of aliens within

[Missouri] increases.” Id. at 839.


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      112.   Federal law requires Missouri to include illegal aliens in its

Emergency Medicaid program, which provides health coverage for low-income

children, families, seniors, and disabled persons. 42 C.F.R. § 440.255(c).

      113.   Missouri is also a destination State and hub for human-

trafficking crimes within the United States, due to its situation at the

confluence of several major interstate highways. See Texas, 554 F. Supp. 3d at

839 (“Missouri is … a destination and transit State for human trafficking of

migrants from Central America who have crossed the border illegally.”). Illegal

aliens are disproportionately the victims of these crimes. Some illegal aliens

also commit crimes. Human-trafficking and other crimes committed by or

against illegal aliens inflict irreparable costs on Missouri, both in law-

enforcement costs and in providing resources for victims. See id. (finding that

“[h]uman trafficking” arising from and involving increases in unlawful

immigration “causes fiscal harm to … Missouri”).

      114.   Additionally, Missouri is suffering a “fentanyl crisis,” and that

crisis is “worsening.” Alex Smith, Missouri’s Fentanyl Crisis is Worsening, But

Patients Can’t Get Treatment for Substance Abuse, ST. LOUIS PUBLIC RADIO
(Apr. 5, 2022), https://bit.ly/3QVv9nr. “St. Louis ranks among the deadliest

cities in the country for overdose deaths among African Americans, and … the

Black community seems caught between organized crime’s fentanyl push and

ineffective efforts to stop it.” Id. Drug smugglers unlawfully entering the

United States through the southern border are critical suppliers for

distributors of fentanyl and other illegal substances in Missouri and elsewhere

in the United States. See Anna Giaritelli, Is America’s Immigration Crisis

Causing the Fentanyl Epidemic?, WASHINGTON EXAMINER (July 13, 2022),

https://bit.ly/3wlho7Z. In addition to devastating the lives and health of

Missouri’s citizens, drug-related and other crimes committed by or against


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illegal aliens impose major healthcare and law-enforcement costs on the State.

An increased influx of illegal aliens will exacerbate these problems. See Texas,

554 F. Supp. 3d at 839 (finding that “[s]ome aliens who … are being released

or paroled into the United States … will commit crimes in … Missouri”).

      115.   An increased influx of illegal aliens will also affect Missouri’s

labor market and reduce job opportunities for U.S. citizens and aliens lawfully

present in Missouri, as illegal aliens frequently compete for jobs at lower wages

than workers who are lawfully present. Missouri has a large agricultural

sector. Illegal aliens unlawfully present in Missouri distort Missouri’s labor

market and inflict irreparable injury on both the State and its citizens.

      116.   The State of Montana is acutely affected by modifications in

federal policy regarding immigration.

      117.   Montana bears the costs of illegal aliens, including their U.S.-

born children, and is forced to expend resources on education, healthcare,

public assistance, and general government services.

      118.   Because Montana has no state sales tax, many illegal aliens pay

virtually no state taxes. Therefore, the costs of all the public services they
consume are borne by lawfully present taxpayers.

      119.   Ohio will also be irreparably harmed by the parole program. Ohio

expends significant state resources on providing state services to illegal aliens

within the State. The illegal parole program will increase the number of illegal

aliens in Ohio. While illegal border crossings most severely affect border

States, the parole program requires aliens to “provide for their own commercial

travel” to the United States, and therefore will affect States beyond the border.

Populous States, including Ohio, will likely shoulder a substantial number of

illegal aliens, particularly given the requirement that the alien associate with

a United States “supporter” to gain entry.


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      120.   Ohio is forced to expend resources on illegal aliens, including

emergency medical services and schooling. Ohio schools spend more than

$12,000 per pupil, on average, and Ohio provides schooling regardless of

immigration status. Ohio is unable to recover these costs from the federal

government and would not incur these costs but for the federal government’s

unlawful “parole” program.

      121.   The   program    harms    Ohio’s   quasi-sovereign    interests   by

compromising its territorial integrity and skewing its labor market.

      122.   South Carolina will also be irreparably harmed by the parole

program. South Carolina expends significant state resources on providing state

services to illegal aliens within the State. For example, South Carolina spends

thousands of dollars per student each year on public-school education, which

the State provides to students regardless of their immigration status.

      123.   The parole program will necessarily lead to a new inflow of illegal

aliens into South Carolina. By the Defendants’ own estimation, up to 30,000

qualifying individuals per month from all four countries will be admitted to the

United States under the program. The program could thus allow for the entry
of up to 360,000 new illegal aliens to enter the United States per year. Because

the program will significantly increase the total number of illegal aliens in the

country, the program will harm South Carolina by causing it to expend even

more state resources on the newly arrived illegal aliens.

      124.   Tennessee is also harmed. According to the Migration Policy

Institute analysis of U.S. Census Bureau data from the pooled 2015–2019

American Community Survey, Tennessee has approximately 128,000

unauthorized individuals living within the State. Tennessee spends significant

sums of money providing services to illegal aliens. Those include education

services and healthcare, as well as many other social services. As the number


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of illegal aliens in Tennessee increases, Tennessee will be required to expend

its limited resources and additional money on education, healthcare, public

assistance, and general government services.

      125.   The parole program will force Tennessee to increase expenditures

on K–12 education. Tennessee spends thousands of dollars per student each

year on public school education, which the State provides to students

regardless of their immigration status. Tennessee spends approximately $5.5

billion of state funds on K–12 education, a portion of which is already spent on

students regardless of immigration status, and additional funding will be

required due to the parole program.

      126.   The parole program will also require Tennessee to increase

expenditures on various social services like healthcare. Tennessee already

spends approximately $214 million on total uncompensated care costs at public

hospitals. Additionally, Tennessee expended approximately $46.7 million on

healthcare coverage for undocumented immigrants in its CoverKids (CHIP)

program. These expenditures will increase under the parole program.

      127.   Utah is also harmed. The parole program will create increased
crime and drug trafficking in Utah’s communities, requiring additional

expenditures by law enforcement. In addition, by increasing illegal

immigration, the parole program will force Utah to expend limited resources

on education, healthcare, public assistance, and general government services.

      128.   Utah has approximately 89,000 to 113,000 illegal aliens living in

the State; about 61% of them are uninsured; about 23% of them have incomes

below the poverty line; and they cost Utah taxpayers more than $521 million

a year. See, e.g., MIGRATION POLICY INSTITUTE, Unauthorized Immigrant

Population Profiles,    https://bit.ly/3WBikj7   (89,000   illegal aliens, 61%

uninsured, 23% below poverty level); PEW RESEARCH CENTER, U.S.


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Unauthorized     Immigrant      Population     Estimates     by   State    (2016),

https://pewrsr.ch/3XOB5Rd (95,000 illegal aliens); FEDERATION FOR AMERICAN

IMMIGRATION REFORM, The Fiscal Burden of Illegal Immigration (2017),

https://bit.ly/3GYoowp (112,600 illegal aliens, $521 million annual cost).

      129.   The State of West Virginia is affected by modifications in federal

policy regarding immigration. It incurs costs related to its nearly 4,000 illegal

aliens, including their U.S.-born children, and expends resources on education,

healthcare, public assistance, and general government services. For example,

West Virginia spends more than $12,000 per year per public-school student,

and it provides public education and related benefits (such as free or reduced-

price meals) irrespective of immigration status. West Virginia makes illegal

aliens paroled under 8 U. S. C. § 1182(d)(5) eligible for Medicaid. If more illegal

aliens enter West Virginia, that will increase West Virginia's education,

healthcare, and other costs.

      130.   Wyoming is also injured by the Defendants’ new parole program.

Wyoming will be required to stretch its scarce resources even further under

the new program because it will cause an influx of illegal aliens to be released

into the United States (including to Wyoming) which increases the burden on

Wyoming’s ability to provide critical governmental services to its citizens. The

Defendants’ unlawful actions will lead to an increased number of illegal aliens

in Wyoming, thereby forcing Wyoming to expend additional resources on

education, healthcare, public assistance, and general government services.

      131.   Wyoming has approximately 5,000 to 7,000 illegal aliens living in

the State, and they cost Wyoming taxpayers more than $26.1 million a year.

See, e.g., MIGRATION POLICY INSTITUTE, Unauthorized Immigrant Population

Profiles, https://bit.ly/407NphJ (7,000 illegal aliens); PEW RESEARCH CENTER,

U.S. Unauthorized Immigrant Population Estimates by State (2016),


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https://pewrsr.ch/2NoU5VA (5,000 illegal aliens); FEDERATION FOR AMERICAN

IMMIGRATION REFORM, The Fiscal Burden of Illegal Immigration (2017),

https://bit.ly/3WAo0tH (<6,000 illegal aliens, $26.1 million annual cost).

      132.   If more illegal aliens enter the State, that will increase the costs

of the State’s healthcare system.
                               Claims for Relief

                              Count One (APA)

      133.   Under the Administrative Procedure Act (APA), 5 U.S.C. § 706, a

court shall decide all relevant questions of law, interpret the constitution and

statutes, and determine the meaning or applicability of the terms of an agency

action. Then, it shall hold unlawful and set aside agency action, findings, and

conclusions found to be arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law; contrary to constitutional right, power,

privilege, or immunity; in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right; and without observance of procedure

required by law.

      134.   The Defendants’ parole program should be held unlawful and set

aside because:

       a. The program exceeds the Defendants’ statutory parole authority

          under 8 U.S.C. § 1182(d)(5).

       b. The Defendants unlawfully failed to engage in notice-and-comment

          rulemaking.




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       c. The Defendants arbitrarily created a program that allows hundreds

          of thousands of aliens to enter the United States with no

          consideration of their ability to remove those aliens from the United

          States at the end of their respective periods of parole.

       d. The Defendants arbitrarily created a program that relies upon an

          alien obtaining a “sponsor” who agrees to provide support for the

          alien, but with no meaningful mechanism to legally enforce such an

          agreement against the sponsor.

       e. The Defendants arbitrarily did not consider and account for the

          Plaintiff States’ legally recognized reliance interest in the

          enforcement of federal immigration statutes, including by not

          allowing into the United States individuals who have no right to be

          here.

                         Count Two (Ultra Vires)

      135.   A plaintiff may “institute a non-statutory review action” against

an agency head “for allegedly exceeding his statutory authority.” Chamber of

Com. of U.S. v. Reich, 74 F.3d 1322, 1327–28 (D.C. Cir. 1996).

      136.   The Defendants’ parole program exceeds their statutory parole

authority under 8 U.S.C. § 1182(d)(5).




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                              Prayer for Relief
For these reasons, the Plaintiff States ask that the Court:

         •   Stay,   postpone,   or   preliminarily   enjoin   the   Defendants’

             implementation of the parole program;

         •   Following a trial on the merits, decree that the parole program

             was issued in violation of the APA and vacate it, set it aside, or in

             the alternative, permanently enjoin the Defendants from

             implementing it;

         •   Declare that the parole program exceeds the Defendants’

             statutory parole authority under 8 U.S.C. § 1182(d)(5);

         •   Award the Plaintiff States their attorneys’ fees and costs of court;

             and

         •   Award the Plaintiff States all other relief to which they may be

             entitled.




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Dated January 24, 2023.            Respectfully submitted,

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